         Case 1:19-cv-01573-TJK Document 1-5 Filed 05/29/19 Page 1 of 17



            IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                              CIVIL DIVISION


DR. JEROME CORSI, Individually

and

LARRY KLAYMAN, Individually                               Case No: 19 CA 002226 B

                                                          Honorable Judge Yvonne Williams
                           Plaintiffs
                                                          Next Event: Initial Scheduling Conference
                      v.                                  July 19, 2019 at 9:30 a.m.

MICHAEL CAPUTO, Individually

and

ROGER STONE, Individually

                           Defendants.



  DEFENDANT ROGER STONE’S MOTION TO DISMISS COMPLAINT PURSUANT
               TO D.C. SUPER CT. R. 12(b)(2) and 12(b)(6)

       Defendant Roger Stone (“Stone”), through counsel, moves this Court, pursuant to the D.C.

Super. Ct. R. Civ. P. 12(b)(2) for lack of personal jurisdiction and D.C. Super. Ct. R. Civ. P. 12(b)(6)

for failure to state a claim upon which relief can be granted, to dismiss Plaintiffs’ Complaint in its

entirety and with prejudice.



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        Case 1:19-cv-01573-TJK Document 1-5 Filed 05/29/19 Page 2 of 17



Dated: May 28, 2019                   Respectfully submitted,

                                      By:   /s/ Chandler P. Routman
                                             Chandler P. Routman

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        Case 1:19-cv-01573-TJK Document 1-5 Filed 05/29/19 Page 3 of 17



            IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                              CIVIL DIVISION


DR. JEROME CORSI, Individually

and

LARRY KLAYMAN, Individually                           Case No: 19 CA 002226 B

                                                      Honorable Judge Yvonne Williams
                         Plaintiffs
                                                      Next Event: Initial Scheduling Conference
                    v.                                July 19, 2019 at 9:30 a.m.

MICHAEL CAPUTO, Individually

and

ROGER STONE, Individually

                         Defendants.



   MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT ROGER STONE’S
   MOTION TO DISMISS PURSUANT TO D.C. SUPER. CT. R. 12(b)(2) and 12(b)(6)


                                 PRELIMINARY STATEMENT

   Plaintiffs Jerome Corsi (“Corsi”) and Larry Klayman (“Klayman”) allege that Defendant

Roger Stone has engaged in defamation and defamation by implication through use of a surrogate,

Michael Caputo. The allegations made by Plaintiffs fail to support any cause of action against

Stone. Roger Stone, by trade, is a political pundit and commentator who is well-known for making

unconventional and sometimes controversial statements to the media. Likewise, Plaintiff Corsi has
         Case 1:19-cv-01573-TJK Document 1-5 Filed 05/29/19 Page 4 of 17



based his career on promoting conspiracy theories 1, making outlandish political comments 2, and

writing books that are known for their inaccuracies 3. Furthermore, Plaintiff Klayman is an attorney

who is well-known for his ‘throwing something on the wall in the hopes that it sticks’ approach to

filling lawsuits. In fact, Plaintiff Klayman “likens his legal work to a MIRV missile, outfitted with

many nuclear warheads, ‘[a]t least one will get through to accomplish the mission,’” 4 and has said

that he’s filed “thousands” 5 of lawsuits. Indeed, Klayman revels in the notoriety he receives for

his controversial, numerous, and unsuccessful lawsuits. 6 Klayman is well-known to support




   1
    See Jerome R. Corsi, Ph.D, Hunting Hitler: New Scientific Evidence That Hitler Escaped Nazi
Germany, available at https://www.skyhorsepublishing.com/9781510718647/hunting-hitler/; Dr.
Jerome Corsi, Where’s the Birth Certificate?: The Case that Barack Obama is not Eligible to be
President, 2016, available at https://www.barnesandnoble.com/w/wheres-the-birth-certificate-
jerome-r-corsi-phd/1101132037; Jerome Corsi, North American Union to Replace USA?, Human
Events: Powerful Conservative Voices (May 9, 2006), http://humanevents.com/2006/05/19/north-
american-union-to-replace-usa/.
   2
         See       Search        Results       for     “Corsi,”      PolitiFact, available at
https://www.politicfact.com/search/?q=corsi (all statements reviewed by PolitiFact have been
found to be either ‘false’ or ‘pants on fire’ on the PolitiFact Truth-O-Meter).
   3
     See Joe Miller, Corsi’s Dull Hacket, FactCheck.Org (Sept. 15, 2008) available at
https://www.factcheck.org/2008/09/corsis-dull-hatchet/.
   4
        David Montgomery, Can Larry Klayman make history with his NSA lawsuit?, The
Washington            Post           Magazine,             May          9,            2014,
https://www.washingtonpost.com/lifestyle/magazine/can-larry-klayman-make-history-with-his-
nsa-lawsuit/2014/05/08/0a858436-b5c0-11e3-8cb6-
284052554d74_story.html?utm_term=.93d7fc5ef51e.
   5
      Dana Milbank, Dana Milbank: Larry Klayman’s legal massacre, Florida Today, Jan. 3,
2015,       https://www.floridatoday.com/story/opinion/columnists/syndicated/2015/01/03/dana-
milbank-larry-klaymans-legal-massacre/21101645/.
   6
       Id. (“He uses litigation as a press strategy. His lawsuits allow him to uncover documents
and depose officials, which makes news and gets him headlines. ‘You report more when I file a
lawsuit,’ Klayman explained. ‘It’s like a prizefight.’”).
           Case 1:19-cv-01573-TJK Document 1-5 Filed 05/29/19 Page 5 of 17



conspiracy theories, such as the anti-Obama ‘birther’ theory. 7 The birther theory is the false claim

that Barack Obama was not born in the United States and therefore his election and reelection to

the presidency was a violation of the Constitution.

   Why are we in the Superior Court for the District of Columbia? Plaintiffs do not ever attempt

to allege the jurisdictional elements necessary to demonstrate why Roger Stone should be hauled

into court in the District. In fact, Plaintiffs clearly state that Roger Stone is a resident of Fort

Lauderdale, Florida. See Complaint ¶ 4. Stone does not live in the District, he does not work in the

District, Plaintiffs do not allege that Stone made any allegedly defamatory comments in the

District, nor do they even allege that Defendant Stone directed Caputo to make any of purportedly

defamatory statements in the District or elsewhere.

   It should also be noted that this is the third defamation lawsuit that Plaintiff Klayman 8 has filed

against Stone and the second involving Plaintiff Corsi 9. This persistent form of harassment towards

Mr. Stone is designed to discredit Mr. Stone in anticipation of his upcoming criminal trial in

November (United States v. Roger Stone, Case No. 1:19-cr-000, in which Plaintiff Corsi is more

than likely going to be a witness against Mr. Stone. Contrary to the allegations made by Plaintiffs

that Mr. Stone is actively trying to damage the reputations of the Plaintiffs, Mr. Stone has had no

contact with Plaintiffs, nor has he bene in contact with Defendant Caputo since before he was




       7
          Larry Klayman, Southern Poverty Law Center, https://www.splcenter.org/fighting-
hate/extremist-files/individual/larry-klayman (last visited March 22, 2019).
   8
    Klayman v. Stone, Case No. XX-XXXXXXX, filed in the Circuit Court of the 17th Judicial Circuit
of Broward County, Florida.
       9
          Corsi v. Stone, Case No. 1:19-CV—00324, filed in the United States District Court for
the District of Columbia (Corsi is represented by Klayman in this matter as well).
          Case 1:19-cv-01573-TJK Document 1-5 Filed 05/29/19 Page 6 of 17



indicted. See Complaint ¶¶ 21-25. For reasons related to Stone’s on-going criminal case, Stone has

had no contact specifically with Plaintiff Corsi and Defendant Caputo.

                                               ARGUMENT

    I.      The D.C. Superior Court Lacks Personal Jurisdiction over Defendant Stone
            Pursuant to D.C. Super. Ct. R. Civ. P. 12(b)(2) and the D.C. Long-Arm Statute
            (D.C. Code § 13-423).

    This Court may exercise personal jurisdiction over Stone only if the Plaintiff satisfies: (1) the

D.C. long-arm statute; and, (2) the Due Process Clause. GTE New Media Services Inc. v. BellSouth

Corp., 199 F.3d 1343, 1347 (D.C. Cir. 2000). The Plaintiffs must satisfy both. Id. Plaintiffs

satisfies neither. Roger Stone is a non-resident defendant who also is not alleged to have committed

any tort in the District.

    A. Exercising Personal Jurisdiction Would Violate the D.C. Long-Arm Statute

         The D.C. long-arm statute lists a number of grounds for jurisdiction (D.C. Code Ann. § 13-

423(a)); but only one is relevant here, Clause (a)(4). Clause (a)(4) grants the Court jurisdiction

over a defendant who causes “tortious injury in the District” through an act outside the District if

he “[i] regularly does or solicits business, [ii] engages in any other persistent course of conduct, or

[iii] derives substantial revenue from goods used or consumed, or services rendered, in the District

of Columbia.” (D.C. Code Ann. § 13-423(a) (emphasis added). Furthermore,

         [a] plaintiff seeking to establish jurisdiction over a non-resident under the foregoing
         provisions of the long-arm statute must demonstrate, pursuant to section (a)(1), that the
         plaintiff transacted business in the District, or show, pursuant to section (a)(4), that the
         [person] caused a tortious injury in the District, the injury was caused by the defendant’s
         act or omission outside of the District, and the defendant had one of the three enumerated
         contacts with the District.

GTE New Media Servs., 199 F.3d at1347. Furthermore, to find that personal jurisdiction exists

under D.C. Code § 13-423(a)(4) for an act or omission done outside of the District causing

injury in the District, “there must be an additional connection between the individual and some
         Case 1:19-cv-01573-TJK Document 1-5 Filed 05/29/19 Page 7 of 17



regularly conducted or solicited business or another persistent course of conduct in D.C.

D.C.Code § 13–423(a)(4).” Harris v. Omelon, 985 A.2d 1103, 1106 (D.C. 2009).

       The District Court for the District of Columbia has ruled that “[p]ublishing defamatory

statements within the District that were made outside the District does not meet the terms of” D.C.

Code § 13-423(a)(4). Hourani v. Psybersolutions LLC, 164 F.Supp.3d 128, 138 (D.D.C. 2016);

see also McFarlane v. Esquire Magazine, 74 F.3d 1296 (D.C. Cir. 1996). “[W]riting an article for

publication that is circulated throughout the nation, including the District, hardly constitutes doing

or soliciting business, or engaging in in a persistent conduct, within the District” and subsequently

does not satisfy the requirements of § 13-423(a)(4). McFarlane, 74 F.3d at 1300 (emphasis in

original). Additionally, in a case where a plaintiff alleged defamation when material was posted

on a website, the Court found that “[e]ven though the information on the website could be viewed

by Internet users everywhere, this fact did not create nationwide personal jurisdiction.” Kline v.

Williams, Civ. No. 05-1102(HHK), 2006 WL 758459, at *1 (D.D.C. Mar. 23, 2006). In reviewing

the Kline decision, the Hourani Court stated that “[t]he critical fact for the determination of

personal jurisdiction was where the tortious injury occurred.” 164 F.Supp.3d at 139 (emphasis

added). In Mallinckrodt Medical, Inc., v. Sonus Pharmaceuticals, Inc., a plaintiff filed suit because

of a derogatory statement posted to a message board. In that case, the Court found no personal

jurisdiction “because plaintiff neither worked nor lived in the District, the injury felt in the forum

was indistinguishable from that felt anywhere AOL subscribers resided.” 989 F.Supp. 265, 273

(D.D.C. 1998). Furthermore, “[e]xercising personal jurisdiction in such cases would in essence

create a ‘nationwide jurisdiction for defamation action’ explicitly banned by prior case law.” Kline,

2006 WL 758459 at *3, (quoting Mallinckrodt, 989 F.Supp. at 272)).
         Case 1:19-cv-01573-TJK Document 1-5 Filed 05/29/19 Page 8 of 17



   Plaintiffs allege that Mr. Stone caused tortious injury within “this judicial district, nationwide,

and worldwide” (See Complaint ¶¶ 35, 40) and “in this district and on the internet and elsewhere,

domestically and for the entire world to see and hear.” See Complaint ¶ 43. However, Stone’s

alleged tortious conduct did not happen within the District of Columbia. Plaintiffs do not claim

that Stone was in District of Columbia when the alleged defamatory remarks were made; nor does

he provide any allegation that amounts to the requirements of minimum contacts, purposeful

availment, and fairness as required by personal jurisdiction. See Complaint.

   Similarly, to Hourani, the alleged tortious conduct occurred outside of the District and the

alleged tortious injury also occurred outside of the District and as a result this Court does not have

personal jurisdiction over Mr. Stone. Plaintiffs’ claims clearly fail to meet the D.C. Long-Arm

Statute, based both on the statutory language of D.C. Code § 13-423 and applicable case law as

demonstrated above.

   B. Exercising Personal Jurisdiction Would Violate Defendant Stone’s Due Process
      Rights

       Even if the long-arm statute is satisfied, Plaintiffs must go one step further and satisfy due

process requirements that govern a Court’s exercise of jurisdiction over defendants. See GTE, 199

F.3d at 1347. “To show that the exercise of jurisdiction would comply with the constitutional

requirements of due process, a plaintiff must demonstrate that there are ‘minimum contacts

between the defendant and the forum establishing that the maintenance of the suit does not offend

traditional notions of fair play and substantial justice.’” Cockrum v. Donald J. Trump for President,

Inc., 319 F.Supp.3d 158, 173 (D.D.C. 2018) (quoting Swecker v. Midland Power Coop., 253

F.Supp.3d 274. 278 (D.D.C. 2017)) (plaintiffs failed to properly allege the District Court of the

District of Columbia has personal jurisdiction over Stone).
         Case 1:19-cv-01573-TJK Document 1-5 Filed 05/29/19 Page 9 of 17



       Plaintiffs seemingly base their theory that this Court has personal jurisdiction over Mr.

Stone based on his alleged business contacts with the District. See Complaint ¶ ¶13, 14.

       As we have repeatedly reaffirmed…the breadth of the ‘transacting business’ provisions is
       coextensive with the due process clause of the Fifth Amendment. In other words, the
       defendant must have minimum contacts with the forum so that exercising personal
       jurisdiction over it would not offend traditional notions of fair play and substantial justice.
       Hence the defendant must have purposefully directed [his] activities at residents of the
       forum. This means that the non-resident defendant’s conduct and connection with the
       forum state are such that he should reasonably anticipated being haled into court there.
       Under the due process clause, the minimum contacts principle requires us to examine the
       quality and nature of the nonresident defendant’s contacts with the District and whether
       those contacts are voluntary and deliberate or only random, fortuitous, tenuous and
       accidental.

Daley v. Alpha Kappa Alpha Sorority, Inc., 26 A.3d 723, 727 (D.C. 2011). “A plaintiff’s unilateral

activity in relation to a defendant cannot alone sustain personal jurisdiction under the ‘minimum

contacts’ theory…it is essential in each case that there be some act by which the defendant

purposely avails itself of the privilege of conducting activities within the forum State.” Hanson v.

Denckla, 357 U.S. 235, 253 (1958).

       The Due Process Clause authorizes two forms of personal jurisdiction: general and specific.

A court with general jurisdiction may hear any claim against a defendant, regardless of where the

claim arose; a court with specific jurisdiction may only hear claims that arose in the forum. Bristol-

Myers Squibb Co. v. Superior Court, 137 S. Ct. 1773, 1780 (2017). This Court has neither general

nor specific jurisdiction over Mr. Stone.

                       1. This Court Does Not Have General Jurisdiction Over Stone

       General jurisdiction is no factor. “For an individual, the paradigm forum for the exercise

of general jurisdiction is the individual's domicile.” Daimler AG v. Bauman, 134 S. Ct. 746, 760

(2014) (citations omitted). “A court may exercise general personal jurisdiction in this district

where the defendant is domiciled in or has his principal place of business in the District of
        Case 1:19-cv-01573-TJK Document 1-5 Filed 05/29/19 Page 10 of 17



Columbia or where defendant’s conduct and connection with the forum are such that he should

reasonably anticipate being sued here.” Hourani, 164 F.Supp.3d 128 at137 [paraphrasing World-

Wide Volkswagen Corp. v. Woodson, 444 U.S. 286 (1980)]. Furthermore, “[b]are allegations and

conclusory statements are insufficient.” Hourani, 164 F.Supp.3d at 135.

        In this case, the Court does not have general personal jurisdiction over Mr. Stone because

he is does not live or work in the District, nor have Plaintiffs demonstrated that Mr. Stone has

systematic contacts with the District that would allow him to reasonably anticipated being sued in

this Court. See id. at 137 (the Court found no general personal jurisdiction over the defendants

because “they do not live or work in the District of Columbia and there are no allegations that they

have systematic contacts with the District such that they should reasonably anticipate being sued

here”). Mr. Stone is a resident of the state of Florida; consequently Mr. Stone is domiciled in

Florida. Moreover, Florida is the location of his principal place of business and has no discernable

ties to D.C. that would satisfy general jurisdiction requirements. This Court, therefore, does not

have general jurisdiction over Mr. Stone.

                        2. The Court Does Not Have Specific Jurisdiction Over Stone

        This leaves specific jurisdiction. “The inquiry whether a forum State may assert specific

jurisdiction over a nonresident defendant focuses on the relationship among the defendant, the

forum, and the litigation.” Walden v. Fiore, 51 U.S. 277, 284-285 (2014) (citations omitted)

(internal quotation marks omitted). A court has specific jurisdiction only if (1) the defendant has

“purposefully established minimum contacts” with the forum by “purposefully direct[ing]” his

activities there and (2) the plaintiff’s claims “arise out of or relate to” those activities. Burger King

Corp. v. Rudzewicz, 471 U.S. 462 (1985). Plaintiff must allege specific acts connecting a defendant
        Case 1:19-cv-01573-TJK Document 1-5 Filed 05/29/19 Page 11 of 17



to the forum. See Second Amendment Found. v. U.S. Conference of Mayors, 274 F.3d 521, 525

(D.C. Cir. 2001).

        Pursuant to the “minimum contacts” standard, “courts must insure that ‘the defendant’s

conduct and connection with the forum State are such that he should reasonably anticipate being

hauled into court there.’” GTE, 199 F.3d at 1347 quoting World-Wide Volkswagen Corp. v.

Woodson, 44 U.S. at 297. A “defendant’s contacts with the forum State may be intertwined with

his transactions or interactions with the plaintiff or other parties. But a defendant’s relationship

with a plaintiff or third-party, standing alone, is an insufficient basis for jurisdiction.” Walden, 571

U.S. at 286. “Due process requires that a defendant be hauled into court in a forum State based on

his own affiliation with the State, not based on the ‘random, fortuitous, or attenuated’ contacts he

makes by interacting with other persons affiliated with the State.” Id., (quoting Burger King, 471

U.S. at 475)).

        Mr. Stone does not have minimum contacts with the District of Columbia because he not

purposefully availed him of the protections and benefits of the District, nor is it foreseeable that

Mr. Stone’s alleged conduct would result in him being sued in the District. Plaintiffs are attempting

to pervert the protections of the minimum contacts standard by alleging highly attenuated potential

contact with the forum state. Plaintiffs attempt to sue Mr. Stone in the District of Columbia is

clearly anathema to the principals of personal jurisdiction and he has clearly failed to establish that

the Court has any form of personal jurisdiction over Mr. Stone.

        Furthermore, Plaintiffs attempt to hold Mr. Stone accountable for the potential conduct or

statements made by so-called “surrogates” (Complaint ¶ 26), including co-defendant Caputo. This

is clearly a feeble and erroneous attempt to haul Mr. Stone to court in this District without sufficient

contacts. Plaintiffs fails to point to a legitimate and actual instance of Mr. Stone either using or
        Case 1:19-cv-01573-TJK Document 1-5 Filed 05/29/19 Page 12 of 17



employing surrogates to act on his behalf, he merely mentions individuals with whom Mr. Stone

has interacted and worked with in the past. Complaint ¶ 26. Moreover, Plaintiffs fail to demonstrate

that these mysterious “surrogates” have any ties or contacts with this District.

    C. The D.C. Long-Arm Statute Does Not Apply to Defendant Stone Because There is No
       Principal-Agent Relationship Between the Defendants as Required for Personal
       Jurisdiction.

    In order for this Court to have jurisdiction over Stone based on the allegations made in the

Complaint, the party asserting the existence of an agency relationship has the burden of proof. See

Jackson v. Loews Washington Cinemas, Inc., 944 A.2d 1088, 1097 (D.C. 2008). There is a two-

prong test for determining the existence of such a relationship: “First the court must look for

evidence of the parties’ consent to establish a principal-agent relationship. Second the court must

look for evidence that the activities of the agent are subject to the principal’s control.” Id. (quoting

Henderson v. Charles E. Smith Management, Inc., 567 A.2d 59, 62 (D.C. 1989) (emphasis in the

original).

                Relevant factors include (1) the selection and engagement of the servant, (2) the
                payment of wages, (3) the power to discharge, (4) the power to control the servant’s
                conduct, (5) and whether the work is part of the regular business of the employer.

Id. (other citations omitted).

        There are no allegations contained in the Complaint that Defendant Stone made any

comment, defamatory or not, about the Plaintiffs. In fact, Plaintiffs rely on a conclusory and

unsupported belief that Stone was directing Caputo to speak on his behalf. The Plaintiffs’ claims

are based on the fact that Stone and Caputo have been longtime friends and that Stone is a “mentor”

to Caputo. Compl. ¶ 11. Under Twombly (and as explained more fully in a proceeding argument)

plaintiffs have an obligation to “provide the ‘grounds’ of his ‘entitle[ment] to relief’” which

“requires more than labels and conclusions, and a formulaic recitation of the elements of the cause
         Case 1:19-cv-01573-TJK Document 1-5 Filed 05/29/19 Page 13 of 17



of action will not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). None of the

allegations made against Stone satisfy this obligation. There are no claims that an agent-principal

relationship exists or existed between Caputo and Stone, which is necessary for this Court to

exercise personal jurisdiction over Stone.

   II.      Plaintiffs Fail to State a Claim Upon Which Relief Can Be Granted (D.C. Super.
            Ct. R. Civ. P. 12(b)(6)) 10

            A. Standard of Review

         Until the Supreme Court’ decision in Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007),

courts routinely followed the rule that, “a complaint should not be dismissed for failure to state a

claim unless it appears beyond a doubt that the plaintiff could prove no set of facts in support of

his claim which would entitle him to relief.” Conley v. Gibson, 355 U.S. 41, 45-46 (1957).

However, pursuant to Twombly, to survive a motion to dismiss, a complaint must now contain

factual allegations which are “enough to raise a right to relief above the speculative level . . . on

the assumption that all the allegations in the complaint are true (even if doubtful in fact).”

Twombly, 550 U.S. at 555. “While a complaint attacked by a Rule 12(b)(6) motion to dismiss does

not need detailed factual allegations . . . a plaintiff’s obligation to provide the ‘grounds’ of his

‘entitle[ment] to relief’ requires more than labels and conclusions, and a formulaic recitation of

the elements of a cause of action will not do.” Id. In all, determining whether a complaint states a

plausible claim for relief will “be a context-specific task that requires the reviewing court to draw

on its judicial experience and common sense.” Ashcroft v. Iqbal, 556 U.S. 662 (2009); see also

Pena v. A. Anderson Scott Mortg. Group, Inc., 692 F. Supp. 2d 102, 106 (D.D.C. 2010). Second,




   10
     There is no legally discernable distinction between the Federal Rules of Civil Procedure Rule
12(b)(6) and D.C. Superior Court Rules of Civil Procedure and therefore they will be treated as
one in the same.
        Case 1:19-cv-01573-TJK Document 1-5 Filed 05/29/19 Page 14 of 17



the court must determine whether the well-pled factual allegations, if assumed to be true,

“plausibly give rise to an entitlement to relief.” Iqbal, 556 U.S. at 662. When the factual allegations

are “not only compatible with, but indeed [are] more likely explained by” lawful activity, the

complaint must be dismissed. Id. at 663.

       A complaint must be dismissed if it consists only of “[t]hreadbare recitals of the elements

of a cause of action, supported by mere conclusory statements.” Id. at 678. The plausibility

standard “asks for more than a sheer possibility that a defendant has acted unlawfully.” Iqbal, 556

U.S. at 678. Thus, “[f]actual allegations must be enough to raise a right to relief above the

speculative level, on the assumption that all the allegations in the complaint are true (even if

doubtful in fact).” Twombly, 550 U.S. at 555. The court is not “’bound to accept as true a legal

conclusion couched as a factual allegation,’ or to ‘accept inferences drawn by plaintiff if such

interferences are unsupported by the facts set out in the complaint.’” Trudeau v. Federal Trade

Com’n, 456 F.3d 178, 193 (D.C. Cir. 2006) (internal citations omitted) quoting Papasan v. Allain,

478 U.S. 265, 286 (1986); Kowal v. MCI Commc’ns Corp., 16 F.3d 1271, 1276 (D.C. Cir. 1994).

       Applying the Iqbal standard in this case, it is abundantly clear that the Plaintiffs’ allegations

of defamation and defamation by implication fall short in crossing the line from “conceivable” to

the “plausible” as Plaintiffs allege unfounded and conclusory claims unsupported by facts.

           B. Failure to State a Claim as to Defamation and Defamation by Implication

       To state a claim for defamation under District of Columbia law, a Plaintiff must allege

sufficient facts showing:

               (1) that the defendant made a false and defamatory statement concerning the
               plaintiff; (2) that the defendant published the statement without privilege to a third
               party; (3) that the defendant’s fault in publishing the statement amounts to at least
               negligence; and (4) either that the statement is actionable as a matter of law
               irrespective of special harm, or that its publication caused the plaintiff special harm.
        Case 1:19-cv-01573-TJK Document 1-5 Filed 05/29/19 Page 15 of 17



Marsh v. Hollander, 339 F. Supp. 2d 1, 5 (D.D.C. 2004) (quoting Crowley v. N. AM. Telecomm.

Ass’n, 691 A.2d 1169, 1172 n.2 (D.C. 1997)).

       “[I]n a defamation case the plaintiff has the burden of proving that the challenged

statements are both false and defamatory.” Kendrick v. Fox Tele., 659 A.2d 814, 819 (D.C. 1995).

Additionally, a plaintiff asserting a defamation claim “must specifically ‘plead the time, place,

content, speaker, and listener of the alleged defamatory matter.’” Franklin v. Pepco Holdings, Inc.,

875 F.2d 66, 75 (D.D.C. 2012), (quoting Stovell v. James, 810 F.Supp.2d 237, 248 (D.D.C. 2011)).

The Supreme Court has noted “’imaginative expression’ and ‘rhetorical hyperbole’ are not

actionable in defamation because ‘they cannot reasonably be interpreted as stating actual facts

about an individual.’” Ford Transp. Indus., Inc. v. Wilner, 760 A.2d 580, 596-7 (D.C. 2000),

(quoting Milkovich v. Lorain Journal Co., 491 U.S. 1, 2 (1990)).

       In Plaintiffs’ Complaint, there are no factual allegations that connect the Defendants

together other than the fact that they are longtime friends and colleagues. As stated above, Mr.

Stone has not had any contact with Mr. Caputo since before he was arrested in January 2019, way

before Defendant Caputo made any of the alleged defamatory statements. Mr. Stone is legally

prohibited from engaging in any kind of contact with Mr. Caputo, and Plaintiffs fail to allege how

Mr. Stone has defied this legal prohibition. Moreover, as Plaintiffs note in their Complaint, Mr.

Stone is prohibited from using any surrogates to speak on his behalf (Compl. ¶ 27); based on their

allegations, it appears that Plaintiffs think that Mr. Stone has violated the terms of his bail in order

to have someone speak out against them. This is absurd and without any merit.

                                          CONCLUSION

       This Court should dismiss the complaint for lack of personal jurisdiction and failure to

state a claim as detailed above.
        Case 1:19-cv-01573-TJK Document 1-5 Filed 05/29/19 Page 16 of 17




                               RULE 12-1(a) CERTIFICATION

       Pursuant to Superior Court Rule 12-1(a), undersigned counsel hereby certifies that counsel

for Defendant Stone consulted with counsel for the plaintiffs (Larry E. Klayman, Esq.) on

regarding whether plaintiffs would consent to the relief sought herein. Plaintiffs do not consent.




Dated: May 28, 2019                   Respectfully submitted,


By:   /s/ Chandler P. Routman
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        Case 1:19-cv-01573-TJK Document 1-5 Filed 05/29/19 Page 17 of 17



                              CERTIFICATE OF SERVICE

       The undersigned does hereby certify that a copy of the foregoing Motion to Dismiss was

served by electronic means through CaseFileXpress filing system on May 28, 2019 to:



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